                                  UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF ALABAMA




In re                                                                               Case No. 14−32035
                                                                                    Chapter 13
William Tranum,

        Debtor.



                                                    NOTICE

        Second and Final Notice of Discharge Requirements. The Debtor(s) has not filed a Motion for Entry
        of Discharge pursuant to Local Bankruptcy Rule 4004−1(a). Unless such requirements are satisfied
        before the filing of the Trustee's Final Report, the case will be closed WITHOUT discharge. (RE:
        related document(s)25 Notice of Final Requirements Necessary for Discharge). (LO)


Dated March 26, 2018




                                                             Juan−Carlos Guerrero
                                                             Clerk of Court




        Case 14-32035      Doc 29      Filed 03/26/18 Entered 03/26/18 08:31:23             Desc Docket
                                           Text Notice Page 1 of 1
